






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-12-00832-CR






Adam Perkins, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 264TH JUDICIAL DISTRICT

NO. 61479, HONORABLE MARTHA J. TRUDO, JUDGE PRESIDING



		

M E M O R A N D U M   O P I N I O N




		Adam Perkins filed an attempted notice of appeal from a judgment of conviction for
indecency with a child by contact.  However, the trial court certified that:  (1)&nbsp;this is a plea bargain
case and Perkins has no right of appeal, and (2)&nbsp;Perkins waived the right of appeal.

		The appeal is dismissed.  See Tex. R. App. P. 25.2(a)(2), (d).

		

						                                                                                     

						Jeff Rose, Justice

Before Justices Puryear, Pemberton and Rose

Dismissed

Filed:   January 25, 2013

Do Not Publish


